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U.S. Department of Homeland Security                                                                          Warrant for Arrest of Alien
                                                                                                                          File No. ________________
                                                                                                                                   A245 614 060
                                                                                                                          Event No:EGT2412000586
                                                              FINS #:1351340402                                                 ___________________
                                                                                                                          Date: December 18, 2023




        To any officer delegated authority pursuant to Section 287 of the Immigration and Nationality
                                                                                       nd Natio




                                                                                                                                  E
        Act:




                                                                                                                       AT
        From evidence submitted to me, it appears that:
        CRISTHIAN ADRIAN ORTEGA-LOPEZ                             _________
                                                                   _______
         _____________________________________________________________________________




                                                                                                         IC
                                                  (Full name of alien)
                                                                    EAGLE PASS,
                                                                          PASS TEXAS
                                                                                TEXA
                                                                                TE
        an alien who entered the United States at or near ___________________________________
                                                                        _________             on
                                                                                                         (Port)




                                                                                        PL
        December 15, 2023
        __________________________ is within the country in violation
                                                                  ion
                                                                   on of the im
                                                                             immigration laws and is
                         (Date)


        therefore liable to being taken into custody as authorized by
                                                                    y section 2236 of the Immigration and
                                                                         DU
        Nationality Act.


        By virtue of the authority vested in me by the immigration
                                                        mmigratio laws of the United States and the
                                                        mmigration
                                                     ED

        regulations issued pursuant thereto, I command
                                                   and you to ttake the above-named alien into custody for
        proceedings in accordance with the applicable provisions of the immigration laws and regulations.
                                               icable provi
                                              FI



                                                                              AMANDO MENDEZ JR
                                                             __________________________________________
                                                                   ______________          ___
                                                                    Date: 2023.12.18 01:13:18______
                                                                                                 __
                                                                                                 _______________
                                                                                              -06:00
                         I




                                                                              0530473298.CBP
                                                                                      (Signature of Desig
                                                                                                    Designated
                                                                                                        gnat
                                                                                                        gnat
                                                                                                          a ed IImmigration
                                                                                                          at    Imm
                                                                                                                 mm
                                                                                                                  migration Officer)
                      RT




                                                                                                (Print name of Designated Immigration Officer)

                                                                              ACTING/PATROL AGENT IN CHARGE
                   CE




                                                                                                             (Title)




                                                Certificate of Service
                 UN




                    LAREDO,
                      REDO, TX
 Served by me at ____________________________
                     _________
                     __________                             December 18, 2023 at _________________.
                                                        on ___________________              12:45 AM
 I certify that following such service, the alien was advised concerning his or her right to counsel and was
                    owing suc
 furnished a copy of this warrant.
                           w
                                                                         CARLOS O LOPEZ
                                                                         Date: 2023.12.18 03:34:48 -06:00
                                                                         0692494779.CBP
                                                                                         CARLO
                                                                                             OS
                                                                                             OS LOPEZ
                                                                                         CARLOS LOPEZ
                                                                _________________________________
                                                                                 (Signature of officer serving warrant)


                                                                                 BORDER PATROL AGENT
                                                                                    (Title of officer serving warrant)
                                                                                                                                            Form I-200 (Rev. 08/01/07) N




                                                                                                                                    Government Exhibit 1
                                                          Page 30 of 30
